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                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA


JUANA SERRANO,                               :
                                             :
               Plaintiff,                    :       CIVIL ACTION
                                             :
               v.                            :       NO. 20-3985
                                             :
KILOLO KIJAKAZI,1 ACTING                     :
COMMISSIONER OF THE                          :
SOCIAL SECURITY                              :
ADMINISTRATION,                              :
                                             :
               Defendant.                    :


                                            ORDER

       AND NOW, this 30th day of September, 2021, upon consideration of Plaintiff’s First

Motion for Summary Judgment Brief and Statement of Issues in Support of Request for Review

(Doc. No. 21), Defendant’s Response thereto (Doc. No. 22), and Plaintiff’s Reply (Doc. No. 23),

IT IS HEREBY ORDERED that:

       1. Plaintiff’s Motion for Summary Judgment is DENIED;

       2. Plaintiff’s Request for Review is DENIED;

       3. JUDGMENT IS ENTERED in favor of Defendant; and

       4. The Clerk of the Court shall mark this case CLOSED.




1
     Kilolo Kijakazi became the Acting Commissioner of Social Security on July 9, 2021.
Pursuant to Rule 25(d) of the Federal Rules of Civil Procedure, Ms. Kijakazi should be
substituted for the former Commissioner of Social Security, Andrew Saul, as the Defendant in
this action. No further action need be taken to continue this case pursuant to Section 205(g) of
the Social Security Act. 42 U.S.C. § 405(g).
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                           BY THE COURT:


                           /s/ Marilyn Heffley
                           MARILYN HEFFLEY
                           UNITED STATES MAGISTRATE JUDGE




                             2
